                                            Case 12-09653-BHL-7A                     Doc 25 FiledFORM 1
                                                                                                    04/10/18  EOD 04/10/18                                        11:49:03          Pg 1 of Page
                                                                                                                                                                                             1 No:        1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                              ASSET CASES

Case No.:                          12-09653                                                                                                                        Trustee Name:                           Richard E. Boston
Case Name:                         BENTLEY, DONNA MAE                                                                                                              Date Filed (f) or Converted (c):        08/13/2012 (f)
For the Period Ending:              03/31/2018                                                                                                                     §341(a) Meeting Date:                   10/03/2012
                                                                                                                                                                   Claims Bar Date:                        04/10/2013
                                       1                                                  2                                3                                 4                         5                                       6

                          Asset Description                                          Petition/                   Estimated Net Value                   Property                  Sales/Funds             Asset Fully Administered (FA)/
                           (Scheduled and                                          Unscheduled                  (Value Determined by                   Abandoned                 Received by            Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                       Value                            Trustee,                  OA =§ 554(a) abandon.            the Estate
                                                                                                               Less Liens, Exemptions,
                                                                                                                  and Other Costs)

Ref. #
1        cash on hand                                                                         $50.00                                   $0.00                OA                                $0.00                                       FA
2        checking account with First Merchants Bank                                           $39.00                                   $0.00                OA                                $0.00                                       FA
3        miscellaneous household goods                                                     $500.00                                     $0.00                OA                                $0.00                                       FA
4        pictures                                                                          $100.00                                     $0.00                OA                                $0.00                                       FA
5        wearing apparel                                                                   $500.00                                     $0.00                OA                                $0.00                                       FA
6        jewelry-wedding rings                                                             $600.00                                     $0.00                OA                                $0.00                                       FA
7        Medical malpractice claim on behalf of deceased                                       $0.00                              $5,000.00                                                   $0.00                                 $5,000.00
8        entered in error                                                                      $0.00                                   $0.00                OA                                $0.00                                       FA
9        2007 Dodge Caravan                                                               $6,500.00                                    $0.00                OA                                $0.00                                       FA


TOTALS (Excluding unknown value)                                                                                                                                                                               Gross Value of Remaining Assets
                                                                                        $8,289.00                                  $5,000.00                                                  $0.00                                $5,000.00



Major Activities affecting case closing:
 01/26/2018         It looks like the a decision will not be made by the IN Insurance Commission until the end of this year and if favorable to the debtor, litigation will likely follow.
 03/22/2017         Special counsel advised that the parties are still in the process of submitting evidence to the Medical Review Panel. Due to the fact there are several defendants, they now expect this
                    process to last through 2017. Only after all evidence is submitted, will the panel review the matter.
 03/31/2016         sp co has advised the te that an opinion of the Medical Review Panel should be received by 07/19/16.
 04/08/2015         Sp Co has advised the te that the parties are still in the process of selecting members of the Medical Review Panel. Presently there are no deadlines/conferences/hearings or trial dates set
                    in either the Department of Insurance's claim or the Marion County Court case.
 03/20/2015         Special counsel is continuing to pursue med-mal case, which is pending before the Indiana Dept of Insurance. To the best of trustee’s knowledge, the case is still in the hands of the
                    Department of Insurance medical panel with no decision as yet. Trustee wrote to special counsel three weeks ago for an update and has had no response to date.
 01/07/2013         medical malpractice claim


Initial Projected Date Of Final Report (TFR):                12/30/2014                             Current Projected Date Of Final Report (TFR):                07/15/2019                  /s/ RICHARD E. BOSTON
                                                                                                                                                                                             RICHARD E. BOSTON
